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 1          LAW OFFICES OF
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 2   A PROFESSIONAL CORPORATION
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 3    SACRAMENTO, CA 95814
                     441-4888
                State Bar #063214
 4

 5   ATTORNEYS FOR:           Defendant
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 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA                         No.     Cr. S-08-294 EJG

12                                     Plaintiff,     ORDER CONTINUING STATUS
           v.                                         HEARING FROM JULY 10, 2009 AT
13
                                                      10:00 AM TO AUGUST 21, 2009 AT
14                                                    10:00 AM
     ROBERT MARTINSON, ET. AL.
15                  Defendants,                       EXCLUSION OF TIME

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18                                                  ORDER
19          This matter having come on before me pursuant to the stipulation of the
20   parties and good cause appearing therefore,
21          IT IS ORDERED THAT: the Hearing now set for July 10, 2009 at 10:00
22   a.m., is vacated and the matter set for a status conference on, August 21, 2009, at
23   10:00 am.
24                                                   //
25                                                   //
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                            Case 2:08-cr-00294-WBS Document 61 Filed 07/09/09 Page 2 of 2


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               2             Further, the Court finds that the defendants' need for additional time to
               3      prepare exceeds the public interest in a trial within 70 days and, therefore, the
               4      interests of justice warrant a further exclusion of time until the hearing on August
               5      21, 2009. Based upon this finding and the representations of the parties, the Court
               6      excludes time from July 10, 2009, pursuant to the Speedy Trial Act, 18 U.S.C. §
               7      3161(h)(8)(B)(iv), Local Code T4 (time to allow sufficient time for counsel to
               8      prepare), until the next appearance on August 21, 2009 at 10:00 a.m. or by further
               9      order of this Court.
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             12              Dated: July 8, 2009
             13                                               /s/ Edward J. Garcia       _
             14                                               SENIOR U.S. DISTRICT COURT JUDGE
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LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
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